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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 Lily ENGLEMAN,

        Plaintiff,

 v.                                              Civil Action File No.
                                                 1:21-cv-01992-MLB
 Nathan ADKERSON, Maryjane
 MOSS, Jose MORALES, et al.

        Defendants.

                      NOTICE OF CHANGE OF ADDRESS

      COMES NOW Annarita L. McGovern, counsel for Defendant Nathan

Adkerson, and hereby notifies this Court and all parties that effective January 1,

2024, all pleadings, correspondence, notices and the like should be mailed to her

new office address, as follows:

                            Annarita L. McGovern
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                             125 Stonemist Court
                           Roswell, Georgia 30076
                                (678) 488-6681
                         annarita@amcgovernlaw.com

      Respectfully submitted this 2nd day of January, 2024.

                                      ANNARITA MCGOVERN LAW, LLC

                                      /s/ Annarita L. McGovern
                                      ANNARITA L. MCGOVERN
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                                 Georgia Bar No. 098141

                                 Counsel for Defendant Nathan Adkerson

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                      CERTIFICATE OF COMPLIANCE

             Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing has

been prepared in compliance with Local Rule 5.1(B) in 14-point Times New Roman

type face.

             This 2nd day of January, 2024.

                                      ANNARITA MCGOVERN LAW, LLC

                                      /s/ Annarita L. McGovern
                                      ANNARITA L. MCGOVERN
                                      Georgia Bar No. 098141

                                      Counsel for Defendant Nathan Adkerson

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                          CERTIFICATE OF SERVICE

      This is to certify that I have this day served a true and correct copy of the

within and foregoing NOTICE OF CHANGE OF FIRM upon counsel of record

with the clerk of court using the CM/ECF system which will automatically send

email notification of such filing to attorneys of record:

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     This 2nd day of January, 2024.

                                      ANNARITA MCGOVERN LAW, LLC

                                      /s/ Annarita L. McGovern
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